                                           Case 3:23-cv-00707-SI Document 20 Filed 04/20/23 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     YINTAO YU,                                       Case No. 23-cv-00707-SI
                                   8                   Plaintiff,
                                                                                          JUDGMENT
                                   9             v.

                                  10     BYTEDANCE, INC.,
                                  11                   Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          This case has been dismissed without prejudice for failure to prosecute. Judgment is entered

                                  14   accordingly.

                                  15

                                  16          IT IS SO ORDERED AND ADJUDGED.

                                  17

                                  18   Dated: April 20, 2023                       ______________________________________
                                                                                     SUSAN ILLSTON
                                  19                                                 United States District Judge
                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
